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 4   Attorney for Defendant
     GENARO LUNA
 5

 6                         UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF CALIFORNIA

 8

 9
     UNITED STATES OF AMERICA          )         No. Cr.S-07-571 GEB
10                                     )
                       Plaintiff       )         STIPULATION AND PROPOSED ORDER
                                       )         CONTINUING SENTENCING
11             v.                      )
                                       )         Date:     May 8, 2009
12   GENARO LUNA,                      )         Time:     9:00 AM
                                       )         Court:    GEB
13                     Defendant       )
                                       )
14

15        IT IS HEREBY STIPULATED AND AGREED by the parties through

16   their respective attorneys that the above referenced matter,
17   calendared for Friday February 27, at 9:00 AM, for sentencing be
18
     rescheduled for May 8, 2009 at 9:00 AM for sentencing.
19
          It is further agreed and stipulated that informal
20
     objections to the PSR shall be filed no later than, April 10,
21
     2009, and that formal objections shall be filed no later than
22
     April 24, 2009.
23
          This stipulation and agreement is entered into for the
24
     following reasons: Scheduling problems have made it difficult to
25




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 1   meet with the client and with probation to conduct the probation

 2   interview.
 3

 4        IT IS SO STIPULATED
 5

 6

 7        Dated: February 26, 2009               /S/ MICHAEL B. BIGELOW
                                                 Michael B. Bigelow
 8                                               Attorney for Defendant

 9

10

11        Dated: February 26, 2009               /S/PHIL FERRARI
                                                 Phil Ferrari, AUSA
12

13   IT IS SO ORDERED
14
     DATED:     February 26, 2009
15

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17                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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